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                  EXHIBIT 4
    Case 2:18-cv-12581-VAR-APP ECF No. 4-5, PageID.57 Filed 09/11/18 Page 2 of 3
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                                                            Hermiz was fired a month after she requested Family
                 2017 WL 2988258
                                                            Medical Leave due to her pregnancy. She filed a lawsuit;
            United States District Court,
                                                            CAC seeks its dismissal and demands arbitration.
          E.D. Michigan, Southern Division.

              Crystal HERMIZ, Plaintiff,                    Hermiz contends that the Agreement in its entirety
                         v.                                 is unconscionable because it limits discovery to one
               CREDIT ACCEPTANCE                            deposition and requires the parties to equally split
                                                            arbitrator fees. Because the law is clear that “attacks on
             CORPORATION, Defendant.
                                                            the validity of an entire contract, as distinct from attacks
                   Case No: 16-14089                        aimed at the arbitration clause, are within the arbitrator's
                           |                                ken,” Preston v. Ferrer, 552 U.S. 346, 353 (2008), the Court
                   Signed 02/16/2017                        GRANTS CAC's motion.

Attorneys and Law Firms
                                                              II. ANALYSIS
Brian Farrar, Carol A. Laughbaum, Sterling Attorneys at     The Federal Arbitration Act (“FAA”), 9 U.S. § 1 et
Law, P.C., Bloomfield Hills, MI, for Plaintiff.             seq., establishes a fundamental principle to encourage
                                                            arbitration as an alternative to litigation. Under § 2 of the
Michael J. Bommarito, Susan D. Koval, Nemeth Law,           FAA, arbitration agreements are contracts which may be
P.C., Detroit, MI, for Defendant.                           invalidated for fraud, duress, or unconscionability.

                                                            There is no question that the parties agreed to arbitrate.
        ORDER GRANTING DEFENDANT'S                          However, Hermiz says the Agreement is unconscionable
            MOTION TO DISMISS                               because of the limited discovery allowed and the fee-
                                                            splitting provision.
Victoria A. Roberts, United States District Judge

  I. INTRODUCTION                                           The Supreme Court resolved this very dispute in Rent-
 *1 When Crystal Hermiz (“Hermiz”) began her                A-Ctr., W., Inc. v. Jackson, 561 U.S. 63 (2010). In
employment with Credit Acceptance Corporation               Rent-A-Ctr, an arbitration agreement required the parties
(“CAC”), she signed an Agreement to arbitrate all           to arbitrate all employment disputes. The agreement
employment-related disputes.                                also contained a delegation clause that gave “the
                                                            arbitrator, and not any federal, state, or local court ...
Hermiz does not dispute that she signed the Agreement,      exclusive authority to resolve any dispute relating to the
and she acknowledges that she read the Alternative          interpretation, applicability, enforceability or formation”
Dispute Resolution Policies and Procedures. The Policies    of the arbitration agreement. Id. 561 U.S. at 66. This
and Procedures—not challenged by Hermiz—contain a           clause is almost identical to the delegation clause in the
clause that delegates to the arbitrator:                    Agreement.

           “exclusive jurisdiction to hear and              The Rent-A-Ctr Court held that “unless the employee
           resolve any and all claims covered               challenges the delegation provision specifically, [the
           by this ADR Policy and Procedure,                Court] must enforce [the provision]—leaving any
           including ... disputes relating to               challenges to the validity of the agreement as a whole for
           the interpretation, applicability, or            the arbitrator.” Id. at 72.
           formation of this Agreement ... no
           court or agency—whether federal,                 Hermiz argues that limiting discovery makes it difficult
           state, local or otherwise—shall have             to litigate her discrimination claim. She also says the
           any jurisdiction to hear or resolve              fee splitting provision makes it too expensive for her
           any claims.”                                     to litigate. She makes no claim that either provision
                                                            hinders her ability to prove the Agreement is void and


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unenforceable; she does not challenge the delegation
                                                                   Hermiz does not challenge the provision of her Agreement
clause.
                                                                   that grants authority to the arbitrator to hear and resolve
                                                                   all of her claims. Nor does she contend that the American
Despite the clear holding of Rent-A-Ctr, Hermiz relies
                                                                   Arbitration Association is unfairly biased in favor of
on Walker v. Ryan's Family Steak Houses, Inc., 400 F.3d
                                                                   CAC.
370, 387-99 (6th Cir. 2005) to argue that in Michigan, an
arbitration agreement that unreasonably limits discovery
                                                                   Since Hermiz fails to show that the provisions of the
to one deposition is unconscionable.
                                                                   Agreement which she challenges make it unconscionable
                                                                   to arbitrate validity and enforceability, her challenge fails.
 *2 Her reliance is misplaced; Walker addressed the
unconscionability of discovery limitations when an
arbitrator with a clear bias for the employer—makes                   III. CONCLUSION
discovery decisions.                                               Hermiz challenges the enforceability of the Agreement as
                                                                   a whole and not the delegation clause. Accordingly, the
Walker also involved an arbitrable employment dispute.             arbitrator—not the Court—must decide if the Agreement
The Plaintiffs signed an arbitration agreement that                is unconscionable.
limited discovery to one deposition. The Agreement
said additional depositions were “not encouraged and               The parties are ORDERED to engage in arbitration
shall be granted [at the discretion of the arbitrator] in          according to the procedures in the Agreement. CAC's
extraordinary fact situations only for good cause shown.”          Motion is GRANTED and the case is DISMISSED
The arbitrator in that case was Employment Dispute                 without prejudice.
Services, Inc. – which the Court found to be biased in favor
of the employer. Id. 400 F.3d at 387.                              IT IS SO ORDERED.

The Court held that “the limited discovery, controlled
by a potentially biased arbitration panel, ... creates the         All Citations
unfairness to claimants.” The potential for bias made
the agreement unconscionable, not that the agreement               Slip Copy, 2017 WL 2988258, 2017 Wage & Hour Cas.2d
allowed only one deposition. Id.                                   (BNA) 47,473


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